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10

11                                 UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA

13

14    HOPE SOLO,                                       Case No. 3:18-cv-05215-JD

15                  Plaintiff,                         OPPOSITION TO PLAINTIFF’S MOTION
                                                       FOR ADMINISTRATIVE RELIEF
16           vs.

17    UNITED STATES SOCCER
      FEDERATION,
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                    Defendant.
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 1   I.      INTRODUCTION

 2           Plaintiffs in the Morgan et al. v. USSF action, Case No. 2:19-cv-01717-RGK-AGR, must

 3   respectfully oppose Hope Solo’s motion for an order compelling her inclusion in a mediation of the

 4   Morgan Plaintiffs’ class action against USSF, which is pending in the Central District of California,

 5   not this Court. While Plaintiffs understand the interests of Solo in their class litigation, Solo is not a

 6   putative class representative, has declared her intention to pursue her own cause of action and opt

 7   out of any class, and thus has no proper role in seeking to negotiate a settlement on behalf of a

 8   putative class which she does not represent and does not wish to join. Moreover, because the

 9   Morgan class action is being presided over by the Court in the Central District of California, this

10   Court, which is only presiding over Solo’s individual claim, is not the proper forum to consider any

11   motion to participate in a mediation of the Morgan action.

12           Solo’s only cited basis for her motion, N.D. Cal. Local Rule 16-8(d)(2), allows this Court to

13   order parties in cases before it to engage in mediation. It in no way contemplates or authorizes a

14   court in this district to compel parties in a different action, pending in another district, to include a

15   putative absent class member who has already expressed an intent not to participate as a member of

16   that class. Judicial oversight of mediation of the claims in the Morgan class action is the sole

17   province of Judge Klausner in the Central District of California.

18           Further, the mediation will not prejudice Solo’s case in any way, as she retains the right

19   under Rule 23 to opt out of any Federal Rule of Civil Procedure 23(b)(3) class settlement, a right

20   that she already has indicated she intends to exercise in opposing consolidation of the actions. See

21   Federal Rule of Civil Procedure (“FRCP”) 23(c)(2)(B); MDL No. 2890, Dkt. 14, Solo Opposition to

22   Centralization. No class will have the authority to release or diminish Solo’s individual back-pay

23   claims in any way if she opts out of any class that is certified. Alternatively, she would have the

24   right to file objections to any class settlement, if one were reached, before Judge Klausner, who must

25   approve any class settlement as being in the best interests of the class. Absent putative class

26   members such as Solo, however, do not have the right to seek to represent the class or manage the

27   class action litigation.

28           Finally, it is regrettable that Solo has chosen to challenge the fortitude of the Morgan

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 1   Plaintiffs to adequately represent the class. The Morgan Plaintiffs are all World Champions who

 2   have proven that they bow down to no one and are relentless advocates of equal pay. They would

 3   only propose a class settlement if they believed it achieved their equal pay objectives under the law

 4   and was in the best interests of the class, a determination that would then have to be approved by

 5   Judge Klausner for any settlement to go into effect. With all due respect, they do not require Solo’s

 6   assistance to achieve these objectives.

 7   II.    DISCUSSION

 8          A.      This Court Is Not the Proper Forum for Solo’s Request.

 9          Solo asks this Court to take the extraordinary step of invading another Judge’s case

10   management, in a different district, to order parties in a completely separate case to include in their

11   mediation a non-party who wishes to conduct class action settlement negotiations for a putative class

12   that she does not seek to represent. She offers no authority to advocate this course of action, which

13   would violate established principles of judicial authority and comity. See California ex rel. Lockyer

14   v. U.S. Dep’t of Agriculture, 710 F. Supp. 2d 916, 921 (N.D. Cal. 2008) (citing West Gulf Maritime

15   Ass'n v. ILA Deep Sea Local 24, 751 F.2d 721, 728 (5th Cir. 1985)) (“The federal courts long have

16   recognized that the principle of comity requires federal district courts—courts of coordinate

17   jurisdiction and equal rank—to exercise care to avoid interference with each other's affairs.”). The

18   local rule Solo cites—the only authority referenced in her motion—governs ADR procedures in the

19   Northern District of California for cases before the courts of this district. See L.R. 16-8. It does

20   not, as Solo advocates, sanction expansive exercise of judicial power to interfere with ongoing ADR

21   processes in cases properly before another federal court. It would, of course, be proper for this Court

22   to order the mediation of Solo’s individual claims against the USSF, which are before it. But the

23   class claims in Morgan are exclusively within the jurisdiction of Judge Klausner, who has the

24   exclusive authority to control case management in the Morgan action. This Court should deny

25   Solo’s motion to intervene in the mediation of the separate Morgan action on this basis alone.

26          B.      FRCP Rule 23 Does Not Give an Absent Class Member, Like Solo, the Authority

27                  to Represent the Class in Settlement Negotiations, and Its Opt-Out Provisions

28                  Protect Solo’s Individual Interests.

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 1          Solo’s claim that members of the USWNT will not have the strength and fortitude to resist

 2   “intimidation and fear tactics” and protect the interests of the putative class is regrettable and has no

 3   basis in fact. These are champion women who have shown the world their determination and

 4   courage over and over again. They will not be intimidated, and they would only agree to a class

 5   settlement that vindicated their equal pay objectives as required by the law. But the issue of their

 6   adequacy as class representatives will be determined by Judge Klausner, not this Court.

 7          Rule 23 does not provide for a putative absent class member, like Solo, to seek to represent

 8   the putative class in any settlement negotiations or mediation. To the contrary, it is the putative class

 9   representatives in Morgan who are charged with that responsibility, along with class counsel, all of

10   whom must be approved by the presiding Judge before any class can be certified. Further, any class

11   settlement must ultimately be approved by the Court, as being “fair, reasonable and adequate.” Fed.

12   R. Civ. P. 23(e)(2).

13          The protections for an absent class member, like Solo, are set forth in Rule 23. First, she

14   may opt out of any Rule 23(b)(3) damages class that is certified and pursue her claim for back pay or

15   other damages on her own. See Fed. R. Civ. P. 23(c)(2). Indeed, Solo has already indicated, in

16   opposing consolidation of her case with the Morgan class action, that she intends to pursue her past

17   damages claims separately. See MDL No. 2890, Dkt. 14, Solo Opposition to Centralization.

18   Second, Rule 23 requires that the class be given notice of and the opportunity to object to any class

19   settlement before the Court determines whether to approve it. See Fed. R. Civ. P. 23(e)(1); Fed. R.

20   Civ. P. 23(e)(5). Solo may, if she chooses, present any objections she has to any class settlement

21   that is reached pursuant to these procedures. She may not, however, seek to represent the putative

22   class herself, as she has not filed any class claims in her action, or seek any role in the mediation and

23   negotiation of any possible class settlement. If absent class members were permitted to involve

24   themselves in a mediation of class claims in this manner, it would up-end the entire class action

25   management process carefully laid out in Rule 23.

26          Finally, Solo’s unsupported speculation about USSF insurance policies being impacted by

27   any class settlement in a manner that would have an adverse impact on Solo’s ability to recover

28   against the USSF is neither factually supported nor legally sound. First, the back-pay claim of a

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 1   single player, like Solo, is not dependent on any insurance recovery or coverage by the USSF. The

 2   USSF has publicly announced reserves of substantial assets that would be far more than sufficient to

 3   cover Solo’s individual claims under any imaginable scenario, and Solo does not contend otherwise.

 4   Nor has Solo made any showing about the terms of any USSF insurance policy or how it would

 5   apply to any claim by Solo. Second, any class settlement would not have the legal power to

 6   diminish Solo’s back-pay claim in any way if she chooses to opt out of that settlement. For these

 7   reasons, Solo would not and could not suffer any prejudice to her individual claims as a result of her

 8   legal inability to negotiate on behalf of a putative class which she does not represent and does not

 9   want to be a part of.

10   III.   CONCLUSION

11          For all the foregoing reasons, Hope Solo’s Motion for Administrative Relief must be denied.

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13   Dated: July 26, 2019                           WINSTON & STRAWN LLP
14
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